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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


                                                §
EPIC IP LLC,                                    §
                                                §
       Plaintiff,                               §
                                                §
       v.                                       §         Civil Action No. 1:18-141-WCB
                                                §
BACKBLAZE, INC.,                                §
                                                §
       Defendant.                               §
                                                §



                         MEMORANDUM OPINION AND ORDER

       This is a patent infringement action brought by plaintiff Epic IP LLC against defendant

Backblaze, Inc. Before the Court is Backblaze’s motion to dismiss the complaint based on

patent ineligibility under 35 U.S.C. § 101. Following briefing and oral argument before the

Court on November 16, 2018, the Court GRANTS the motion and dismisses the complaint with

prejudice. A judgment will be separately entered terminating this action.

                                        BACKGROUND

       Epic owns U.S. Patent No. 6,434,599 (“the ’599 patent”), which is entitled “Method and

Apparatus for On-Line Chatting.” The patent is directed to the formation of an Internet chat

session in which on-line users who visit an information site can establish a separate chat session

with a sub-group of those visiting the site. Epic has asserted five of the twenty-five claims

against Backblaze. The asserted claims are claims 1-4 and 19. The first four claims are method

claims; the last is an apparatus claim to an “information server” that enables the formation of a

chat session unaffiliated with a pre-established chat room.
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        Claim 1 of the ’599 patent provides as follows:

        1. An on-line chatting method comprising:
           facilitating visit [sic: a visit] by a first on-line user to an information page of an
        information site;
           facilitating dynamic formation of a chat session unaffiliated with any pre-
        established chat room for said first on-line user and a second on-line user to chat
        with each other; and
           facilitating said chat session through which said first and second on-line users
        chat with each other.

        Claim 2 depends from claim 1 and adds that “said facilitating of dynamic formation of a

chat session unaffiliated with any pre-established chat room comprises providing a mechanism to

said first on-line user to initiate formation of said unaffiliated chat session.”

        Claim 3 depends from claim 2 and adds that “said provision of a mechanism to said first

on-line user to initiate formation of said unaffiliated chat session comprises providing a

selectable icon for said first on-line user to indicate the first on-line user’s desire to chat with

another non-particularized on-line user.”

        Claim 4 depends from claim 3 and adds that “said provision of a mechanism to said first

on-line user to initiate formation of said unaffiliated chat session further comprises providing one

or more dialog panels for said first on-line user to specific [sic: specify] one or more descriptive

characteristics of said first on-line user.”

        Claim 19 provides as follows:

        19. An information server comprising:
           a plurality of information pages to be selectively provided to a client computer
        responsive to the client computer’s request; and
           a first script/applet to be included with a responsive information page to enable
        the client computer to initiate dynamic formation of a chat session unaffiliated
        with any pre-established chat room for a user of the client computer to chat with a
        second user of interest, also visiting the information server.

        On January 24, 2018, Epic filed separate actions against three defendants: AutoNation,

Inc. (Case No. 1:18-cv-139), Blue Jeans Network, Inc. (Case No. 1:18-cv-140), and Backblaze,

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Inc. (Case No. 1:18-cv-141). The actions against Blue Jeans Network and AutoNation, Inc.,

were subsequently dismissed following settlement.

       Backblaze has now sought dismissal of the action against it under Federal Rule of Civil

Procedure 12(b)(6) on the ground that the asserted claims of the ’599 patent are directed to

abstract ideas and are not eligible for patenting in light of section 101 of the Patent Act. For the

reasons set forth in detail below, the Court agrees with Backblaze that the asserted claims of the

’599 patent are drawn to abstract ideas and are not patent-eligible.

                                          DISCUSSION

       The framework for analyzing the issue of patentable subject matter under 35 U.S.C.

§ 101 is well settled. The Supreme Court’s decision in Alice Corp. v. CLS Bank International,

134 S. Ct. 2347 (2014), established a two-step test for determining whether a patent is directed to

an unpatentable idea. First, the court must determine “whether the claims at issue are directed to

a patent-ineligible concept,” such as an abstract idea. 134 S. Ct. at 2355. Second, if the claims

are directed to an abstract idea, the court must decide whether there is an “inventive concept” in

the claims at issue. The Supreme Court characterized an “inventive concept” as “an element or

combination of elements that is ‘sufficient to ensure that the patent in practice amounts to

significantly more than a patent upon the [ineligible concept] itself’”; the presence of an

“inventive concept,” the Court explained, is enough to “‘transform the nature of the claim’ into a

patent-eligible application.” Id. (quoting Mayo Collaborative Servs. v. Prometheus Labs., Inc.

566 U.S. 66, 72–73, 78 (2012)).

       The first step of the two-step analysis requires the court to examine the “focus” of the

claim, i.e., its “character as a whole,” in order to determine whether the claim is directed to an

abstract idea. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018); Internet



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Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015). The second step, if

reached, requires the court to “look[] more precisely at what the claim elements add—

specifically, whether, in the Supreme Court’s terms, they identify an ‘“inventive concept”’ in the

application of the ineligible matter to which (by assumption at step two) the claim is directed.”

Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016) (citations omitted).

I. Abstract Idea

       A. Governing Principles

       Defining an “abstract idea,” as that term is used in section 101 jurisprudence, has not

proved to be a simple task. Neither the Supreme Court nor the Federal Circuit has ventured a

single, comprehensive definition. See Alice, 134 S. Ct. at 2357 (“[W]e need not labor to delimit

the precise contours of the ‘abstract ideas’ category in this case.”); Bilski v. Kappos, 561 U.S.

593, 621 (2010) (Stevens, J., concurring in the judgment) (“The Court . . . never provides a

satisfying account of what constitutes an abstract idea.”); Elec. Power Grp., 830 F.3d at 1353

(“We need not define the outer limits of ‘abstract idea’”); Enfish, LLC v. Microsoft Corp., 822

F.3d 1327, 1334 (Fed. Cir. 2016) (“The Supreme Court has not established a definitive rule to

determine what constitutes an ‘abstract idea’ sufficient to satisfy the first step of the Mayo/Alice

inquiry. . . . Rather, both this court and the Supreme Court have found it sufficient to compare

claims at issue to those claims already found to be directed to an abstract idea in previous

cases.”). Rather than a unitary test, what has emerged from the section 101 cases is a group of

related principles that can be applied in gauging whether or not a patent claim is directed to an

abstract idea. They include the following:

       First, the courts have characterized “method[s] of organizing human activity” as abstract.

See Alice, 134 S. Ct. at 2356; BSG Tech LLC v. BuySeasons, Inc., 899 F.3d 1281, 1285 (Fed. Cir.



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2018). In particular, the courts have identified fundamental economic practices that have long

been prevalent in our system of commerce as abstract ideas. Applying that principle in the field

of computers and telecommunications, the courts have held that claims directed to simply

implementing such economic practices on a computer are not patent-eligible. See Alice, 134 S.

Ct. at 2355–57; Bilski, 561 U.S. at 611; BSG, 899 F.3d at 1285 (“If a claimed invention only

performs an abstract idea on a generic computer, the invention is directed to an abstract idea at

step one” of Alice.). Nor does the fact that a computer can perform such operations more rapidly

and efficiently make an abstract idea any less abstract or any more patent-eligible. See, e.g.,

RecogniCorp. LLC v. Nintendo Co., 855 F.3d 1322, 1326 (Fed. Cir. 2017); FairWarning IP, LLC

v. Iatric Sys., Inc., 839 F.3d 1089, 1097 (Fed. Cir. 2016); Intellectual Ventures I LLC v.

Symantec Corp., 838 F.3d 1307, 1315 (Fed. Cir. 2016); Accenture Glob. Servs., GmbH v.

Guidewire Software, Inc., 728 F.3d 1336, 1345 (Fed. Cir. 2013); Ultramercial, Inc. v. Hulu,

LLC, 772 F.3d 709, 717 (Fed. Cir. 2014) (“Any transformation from the use of computers or the

transfer of content between computers is merely what computers do and does not change the

analysis.”).

        Second, as applied to computer applications, the courts have looked to whether the claim

in question is directed to an improvement in computer technology as opposed to simply

providing for the use of a computer to perform “economic or other tasks for which a computer is

used in its ordinary capacity.” Enfish, 822 F.3d at 1336. Where the claims at issue provide for

an improvement in the operation of a computer, such as a new memory system, a new type of

virus scan, or a new type of interface that makes a computer function more accessible, the

Federal Circuit has found the claims patent-eligible. See Data Engine Techs. LLC v. Google

LLC, 906 F.3d 999 (Fed. Cir. 2018) (methods for making electronic spreadsheets more



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accessible); Core Wireless Licensing S.A.R.L. v. LG Elec., Inc., 880 F.3d 1356, 1361–63 (Fed.

Cir. 2018) (improved display devices); Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299 (Fed.

Cir. 2018) (novel method of virus scanning); Visual Memory LLC v. NVIDIA Corp., 867 F.3d

1253 (Fed. Cir. 2017) (improved computer memory system).

       Numerous Federal Circuit decisions have drawn the distinction between patent-eligible

claims that “are directed to a specific improvement in the capabilities of computing devices,” as

opposed to “‘a process that qualifies as an “abstract idea” for which computers are invoked

merely as a tool.’” Core Wireless, 880 F.3d at 1361–62 (quoting Enfish, 822 F.3d at 1336); see

also McRO, Inc. v. Bandai Namco Games Am., Inc., 837 F.3d 1299, 1316 (Fed. Cir. 2016); DDR

Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257–58 (Fed. Cir. 2014). This principle has

sometimes been described as requiring, in the computer field, a “technological solution to a

technological problem specific to computer networks.” Amdocs (Israel) Ltd. v. Openet Telecom,

Inc., 841 F.3d 1288, 1301 (Fed. Cir. 2016); In re TLI Commc’ns LLC Patent Litig., 823 F.3d

607, 613 (Fed. Cir. 2016) (“the claims are not directed to a solution to a ‘technological

problem’”).

       Third, in determining whether a particular claim is directed to an abstract idea, courts

have focused on whether the claim is purely functional in nature rather than containing the

specificity necessary to recite how the claimed function is achieved. The Federal Circuit has

focused on the problem of functional claiming in a number of recent section 101 decisions. In

those cases, the Federal Circuit, treating the term “abstract” as an antonym of “concrete” or

“specific,” has analyzed whether the claims before it are sufficiently concrete or specific to be

directed to a patent-eligible process rather than a patent-ineligible result. For example, in SAP

America, 898 F.3d at 1167, the court asked whether the claim had “the specificity required to



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transform [it] from one claiming only a result to one claiming a way of achieving it.” To answer

that question, the Federal Circuit has directed courts to “look to whether the claims focus on a

specific means or method, or are instead directed to a result or effect that itself is the abstract

idea and merely invokes generic processes and machinery.” Two-Way Media Ltd. v. Comcast

Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017); McRO, 837 F.3d at 1314 (“We

therefore look to whether the claims in these patents focus on a specific means or method that

improves the relevant technology or are instead directed to a result or effect that itself is the

abstract idea and merely invoked generic processes and machinery.”). Therefore, the question in

such cases is “whether the claims are directed to ‘a specific means or method’ for improving

technology or whether they are simply directed to an abstract end-result.” RecogniCorp, LLC v.

Nintendo Co., Ltd., 855 F.3d at 1326.

       As Judge Chen noted for the Federal Circuit in Interval Licensing LLC v. AOL, Inc., 896

F.3d 1335, 1343 (Fed. Cir. 2018), the focus on functionality as a measure of patent eligibility has

a long and notable pedigree. Judge Chen cited Wyeth v. Stone, 30 F. Cas. 723 (C.C.D. Mass.

1840), as an example of an early expression of some of the policy concerns that underlie the

issue of patent eligibility. In that case, Justice Story, riding circuit, presided over a patent

infringement suit involving two claims. In one, the patentee claimed a particular apparatus and

machinery to cut ice, and in the other the patentee claimed “an exclusive title to the art of cutting

ice by means of any power, other than human power.” Id. at 727. Justice Story ruled that the

second claim was “utterly unmaintainable,” because it was “a claim for an art or principle in the

abstract, and not for any particular method or machinery, by which ice is to be cut.” Id.

       In Interval Licensing, the Federal Circuit also pointed to the Supreme Court’s nineteenth

century decisions in O’Reilly v. Morse, 56 U.S. (15 How.) 62 (1853), and Le Roy v. Tatham, 55



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U.S. (14 How.) 156 (1853), which make similar observations. See Interval Licensing, 896 F.3d

at 1343; see also Mayo, 566 U.S. at 70. Importantly, in both of those older cases the Court

emphasized that a claim to a result, however achieved, is not patentable, and that allowing such a

patent would have impermissible preemptive effects, which is the same issue that the Supreme

Court has noted in section 101 cases as driving the Court’s restrictions on claims to abstract

ideas. Compare Le Roy, 55 U.S. (14 How.) at 175 (“A principle, in the abstract, . . . cannot be

patented. . . . A patent is not good for an effect, or the result of a certain process, as that would

prohibit all other persons from making the same thing by any means whatsoever.”), with Alice,

134 S. Ct. at 2354 (quoting Mayo, 566 U.S. at 85 (“We have described the concern that drives

this exclusionary principle as one of pre-emption. . . . We have ‘repeatedly emphasized this . . .

concern that patent laws not inhibit further discovery by improperly tying up the future use of’

these building blocks of human ingenuity.”)). Based on that analysis and other Federal Circuit

decisions to the same effect, the Federal Circuit in Interval Licensing held the representative

claim before it, which was directed to what was called an “attention manager” in a computer

readable medium, to be patent-ineligible. That was so, the court explained, because the claim

recited a “broad, result-oriented” structure, and because “[i]nstead of claiming a solution for

producing [a] result, the claim in effect encompasses all solutions.” 896 F.3d at 1345.

       Other cases from the Federal Circuit have employed the same analysis and applied it to

hold claims ineligible under section 101. See Two-Way Media, 874 F.3d at 1337 (“The claim

[before the court] requires the functional results of ‘converting,’ ‘routing,’ ‘controlling,’

‘monitoring,’ and ‘accumulating records,’ but does not sufficiently describe how to achieve these

results in a non-abstract way.”); Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d

1332, 1342 (Fed. Cir. 2017) (“IV argues that the claims set forth a unique solution to a problem



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with contemporary XML documents. . . . But the claims do not recite particular features to yield

these advantages. Although the claims purport to modify the underlying XML document in

response to modifications made in the dynamic document, this merely reiterates the patent’s

stated goal itself. . . . Indeed, the claim language here provides only a result-oriented solution,

with insufficient detail for how a computer accomplishes it. Our law demands more.”); Apple,

Inc. v. Ameranth, Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016) (“The patents claim systems

including menus with particular features. They do not claim a particular way of programming or

designing the software to create menus that have these features, but instead merely claim the

resulting systems.”); Affinity Labs of Tex., LLC v. DirecTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir.

2016) (“While independent claim 1 refers to general components such as a cellular telephone, a

graphical user interface, and a downloadable application, the claimed invention is entirely

functional in nature. It recites software in the form of ‘an application configured for execution

by the wireless cellular telephone device’ that performs three functions . . . . There is nothing in

claim 1 that is directed to how to implement out-of-region broadcasting on a cellular telephone.

Rather, the claim is drawn to the idea itself.”); McRO, 837 F.3d at 1314 (“The abstract idea

exception has been applied to prevent patenting of claims that abstractly cover results where ‘it

matters not by what process or machinery the result is accomplished.”); Elec. Power Grp., 830

F.3d at 1356 (referring to the “important common-sense distinction between ends sought and

particular means of achieving them, between desired results (functions) and particular ways of

achieving (performing) them” and quoting the district court’s observation that “‘there is a critical

difference between patenting a particular concrete solution to a problem and attempting to patent

the abstract idea of a solution to the problem in general.’”); In re TLI Commc’ns LLC Patent




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Litig., 823 F.3d at 615 (“vague, functional descriptions of server components are insufficient to

transform the abstract idea into a patent-eligible invention”).

       B. Applying Those Principles to This Case

       Each of the above-listed principles that guide the courts’ abstract idea inquiries points to

the conclusion that the asserted claims of the ’599 patent are directed to abstract ideas. First, the

claims are directed to a method of organizing human activity. Second, the claims do not recite

an improvement in computer technology. Third, the claims are functional in nature; they recite

what the objective of the invention is, but not how that objective is to be accomplished. These

points are addressed in more detail below.

       Asserted claims 1-4 and 19 of the ’599 patent are directed to the idea of a “chat session”

for users of the Internet. More particularly, the idea underlying the claims is to provide an

Internet user the ability to visit a website and then form a group from among those visiting the

website to conduct a “chat” independent of the website. That idea can be expressed at several

different levels of generality: (1) as the idea of individuals getting together to communicate; (2)

as the idea of individuals getting together to communicate over the Internet; or (3) as the idea of

individuals getting together to communicate over the Internet by forming a sub-group from the

group of individuals visiting a website.

       The idea of individuals getting together to communicate is plainly abstract in the sense in

which that term has been used in cases addressing the issue of patent eligibility: it is a

commonplace occurrence with long historical (indeed, pre-historical) roots. The idea of a sub-

group of persons with particular shared interests forming a sub-group for communication is also

commonplace in everyday life.




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       Epic argues that the invention is not drawn to an abstract idea because the activity takes

place over the Internet. However, limiting the interpersonal contacts to communications over the

Internet does not make the idea any less abstract; the Federal Circuit has made clear that

conducting a commonplace activity over the Internet does not avoid the problem of abstractness.

See Ultramercial, 772 F.3d at 716 (“The claims’ invocation of the Internet . . . adds no inventive

concept.”); see also BASCOM Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341,

1348 (Fed. Cir. 2016) (“An abstract idea on an Internet computer network or on a generic

computer is still an abstract idea.”) (citation and quotation omitted); CyberSource Corp. v. Retail

Decisions, Inc., 654 F.3d 1366, 1370 (a method of verifying the validity of credit card

transactions over the Internet held patent-ineligible as directed to an abstract idea); buySAFE,

Inc. v. Google, Inc., 765 F.3d 1350, 1351 (Fed. Cir. 2014) (holding that a claim directed to

guaranteeing a party’s performance in an Internet transaction was directed to an abstract idea).

       Epic further argues that the claims are not drawn to an abstract idea because the invention

entails more than simply setting up a chat room on the Internet. The novelty, according to Epic,

is that the invention provides for individuals who are visiting the same website to initiate private

chats with one another, separate from the website that the individuals initially visited. The

problem, however, is that the idea of a chat session separate from the original website is not an

invention; it is a concept. The asserted claims of the ’599 patent recite the concept, but not the

way to implement it.

       Claim 1 is the worst offender. It is wholly devoid of concreteness. It recites an “on-line

chatting method” comprising three steps: “facilitating visit [sic] by an on-line user to an

information site”; “facilitating the dynamic formation of a chat session, unaffiliated with any pre-

established chat room,” between the first on-line user and a second on-line user to chat with each



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other; and “facilitating said chat session through which said first and second on-line users chat

with each other.” Those steps are just the barebones descriptions of a result. The claim contains

no description of any mechanism by which that result is obtained. To use the words of the

Federal Circuit in RecogniCorp, claim 1 of the ’599 patent is not directed to “a specific means or

method for improving technology,” but is “simply directed to an abstract end-result.” 855 F.3d

at 1326 (internal quotations and citation omitted). The claim is thus clearly directed to an

abstract idea.

       Independent claim 19 contains nothing of substance beyond what is contained in claim 1,

and thus there is no difference between them for section 101 purposes. See Alice, 134 S. Ct. at

2360 (“The system claims are no different from the method claims in substance. The method

claims recite the abstract idea implemented on a generic computer; the system claims recite a

handful of generic computer components configured to implement the same idea.”). Claim 19

recites an “information server” comprising information pages that can be accessed by a client

computer, with a “script/applet” included with each information page. The provision of a

generic “information page” to a user is a necessary first step in forming any chat session, and the

generic “script/applet” that is included in that page is simply a means of enabling the user to

initiate formation of the chat session. The specification describes that process as “conventional.”

See ’599 patent, col. 5, ll. 38-41 (“Information server 404 performs is [sic: its] conventional

function of responding to visiting users, and providing the visiting users with requested ones of

information pages 118 (including applicable ones of associated scripts/applets 406.)).          The

specification makes clear that the term “script/applet” is not a reference to a specific device

unique to this patent, but is simply a generic term for any mechanism by which the user can

communicate with the server, such as to initiate a chat session or provide a description of interest



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characteristics of the user. See ’599 patent, col. 5, ll. 27-30, 45-50, 56-63; id., col. 5, line 63,

through col. 6, line 22; id., col. 6, line 46, through col. 7, line 45. Like claim 1, claim 19 thus

recites a result, not a specific means for achieving that result.

       Claim 2, which depends from claim 1, simply adds a reference to providing a generic

“mechanism to said first on-line user to initiate said unaffiliated chat session.” Since the process

of facilitating a visit by a user to an information site and facilitating the formation of a chat

session necessarily contemplates some mechanism by which the user can communicate his desire

to visit the site and join a chat session, claim 2 adds nothing of substance to independent claim 1.

       Claim 3, which depends from claim 2, adds a “selectable icon for said first on-line user to

indicate the first on-line user’s desire to chat with another non-particularized on-line user.” The

few references in the specification to a “user selectable icon” make clear that the icon is merely a

generic description of a mechanism displayed to the user through which the user can indicate his

desire to enter a chat session. See ’599 patent, col. 5, ll. 45-54; id., col. 6, ll. 46-54; see also

Internet Patents, 790 F.3d at 1348 (furnishing icons of a web page with a browser having Back

and Forward navigation functions characterized as conventional). That claim, too, adds no

specificity to the putative invention of claim 1.

       Claim 4, which depends from claim 3, adds a mechanism, referred to as “one or more

dialog panels” for the first on-line user “to specific [sic: specify] one or more descriptive

characteristics of said first on-line user.” The specification makes clear that the “dialog panel” is

merely a generic means for the user to identify characteristics that may be pertinent to the nature

of the chat session in which he elects to engage. See ’599 patent, col. 6, line 66, through col. 7,

line 16. That feature, like the additional features recited in claims 2 and 3, does not add

specificity to the claimed invention. Formation of a separate chat session among persons sharing



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an interest in chatting necessarily requires a means for them to indicate their interest in doing so

and naturally requires a means for them to communicate information that would induce others to

join such a chat session. Thus, none of the dependent claims overcomes the abstractness of

claim 1.

       In sum, under governing Federal Circuit precedent, claims 1 and 19 are so general in

nature that they are clearly directed to abstract ideas. Dependent claims 2 and 3 add nothing

more concrete, as they simply provide an unspecified mechanism by which the user can

communicate with the information server. And dependent claim 4 merely provides a means for

the user to communicate characteristics that form the basis for generating a chat session with

other on-line users. Each of those additional features simply refers to the mechanism by which

the user communicates his desires to the system—mechanisms that are implicit in claims 1 and

19 and add no more specificity to the patent claims.

       C. Epic’s Arguments

       1. Epic argues that its patent “address[es] a specific improvement to solve a problem

with implementing on-line chat sessions.” Dkt. No. 27, at 13. The problem with prior art chat

rooms, according to Epic, is that they “were pre-established and required registration.” Id. As

explained in the specification of the ’599 patent, “a need exists to provide on-line users with

enhanced [sic: an enhanced] chatting experience that is more closely related to their real world

experience,” ’599 patent, col. 1, ll. 55-57. That problem was solved, according to Epic, “through

allowing the dynamic formation of a chat session unaffiliated with any pre-established chat

sessions using scripts/applets included in information pages so that a user of the information

website can chat with other users.” Dkt. No. 27, at 13.




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       That characterization of the problem and its solution is simply saying that the problem

was that chat sessions were restricted to pre-established chat rooms, rather than being initiated by

individuals interested in chatting about a particular subject, while the solution to the problem was

to allow individuals to initiate chat sessions without the constraints of a pre-existing chatroom.

But that is not a description of the solution to the problem; it is just a description of the problem

and an announcement that it has been solved. Nothing in the claims explains how the solution is

effectuated.

       In the case of claim 1, the proposed “solution” is simply to “facilitate” the establishment

of independent chat sessions, which is no solution at all. In the case of dependent claims 2 and 3,

the purported solution is the same, with the inclusion of necessarily inherent features of a generic

device to initiate the formation of such a session and to indicate a desire to chat with another

participant. In the case of claim 4, the additional step is simply a generic device by which the

user can specify one or more descriptive characteristics to facilitate the formation of a chat

session among persons sharing an interest in chatting.            In substance, claim 19 merely

incorporates the limitations of the first two claims in apparatus form, referring to the mechanism

on an information website for initiating the formation of a chat session by use of the generic term

“script/applets.” Nothing in independent claims 1 and 19, or in dependent claims 2 through 4,

offers a specific “solution” to the problem that Epic describes, as opposed to simply announcing

that the solution to the problem of not having a way for on-line users to initiate their own

chatroom sessions is to enable on-line users to initiate their own chatrooms.

       2.      Epic next contends that the asserted claims of the ’599 patent “are directed to

improved computer functionality” and are “rooted in a particular computer technology.” Dkt.

No. 27, at 11–12. That argument, however, misses the point of the cases that find improvements



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in computer technology to be non-abstract.           That line of cases addresses technological

improvements in the way the computer systems operate, not innovations that happen to employ

computers. The cases on which Epic relies illustrate this distinction.

       Epic places particularly heavy reliance on Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d

1299 (Fed. Cir. 2018).     Contrary to Epic’s contention, that case demonstrates why Epic’s

position with respect to the “computer technology” argument is flawed. Representative claim 1

in Finjan was directed to a novel type of virus scan for computers. As construed, the claim

recited a virus screening program that would identify suspicious code in an executable

application program and would attach a security profile to the application program so that the

recipient of the program could decide whether to access the program. Importantly, the claimed

invention employed a novel “behavior-based” approach to virus scanning, rather than the

conventional “code-matching” approach. The behavior-based approach involved determining

whether an application was potentially dangerous by examining whether the application

performs potentially dangerous or unwanted operations, unlike the code-matching approach,

which merely determined whether the application’s code matched previously known viruses.

Based on that analysis, the court concluded that the claimed method “employs a new kind of file

that enables a computer security system to do things it could not do before. . . . The asserted

claims are therefore directed to a non-abstract improvement in computer functionality, rather

than the abstract idea of computer security writ large.” Id. at 1305.

       The facts of Finjan make it clear how different that case is from this one. The invention

in Finjan solved a technological problem in a technological manner, by fashioning a new way of

conducting virus scans. The claims in this case, by contrast, involve no improvements to the

operation of computers themselves, but only an arguably new use to which conventional



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computer components can be put. The specification of the ’599 patent repeatedly emphasizes

that the invention involves only conventional computer and communications components. The

only thing that is novel is the use to which those components are put. Under the Federal Circuit

cases dealing with non-abstract improvements to computer functionality, that is not enough.

       In the context of computer-related technology, the Federal Circuit has repeatedly

distinguished, for section 101 purposes, between inventions that are directed to specific

improvements to computer functionality and those that are not. See Enfish, 822 F.3d at 1335

(“[W]e find it relevant to ask whether the claims are directed to an improvement to computer

functionality versus being directed to an abstract idea”); see also Visual Memory, 867 F.3d at

1260 (“The claims in [Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l

Assn., 776 F.3d 1343 (Fed. Cir. 2014)] and [In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607

(Fed. Cir. 2016)] were not directed to an improvement in computer functionality, which

separates the claims in those cases from the claims in the current case”); Intellectual Ventures I

LLC v. Erie Indem. Co., 850 F.3d 1315, 1328 (Fed. Cir. 2017) (“[T]he claims are not focused on

how usage of the XML tags alters the database in a way that leads to an improvement in the

technology of computer databases”).       The Federal Circuit has characterized the principle

underlying that distinction as embodying a requirement that a patent be directed to “specific

technologic modifications to solve a problem or improve the functioning of a known system.”

Trading Techs. Int'l, Inc. v. CQG, INC., 675 F. App'x 1001, 1004–05 (Fed. Cir. 2017).

       The Federal Circuit’s decision in Enfish identified the kinds of inventions that qualify as

non-abstract improvements in computer-related technology, “such as a chip architecture, an LED

display, and the like.” The claims in Enfish involved a self-referential table for a computer

database; the court explained that in light of that technological advance, “the plain focus of the



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claims is on an improvement to computer functionality itself, not on economic or other tasks for

which a computer is used in its ordinary capacity.” 822 F.3d at 1336. The self-referential table

resulted in faster searching and more effective data storage, features that the court held were not

abstract.

        Other Federal Circuit cases have identified similar technological innovations as non-

abstract. For example, in McRO, Inc. v. Bandai Namco Games America Inc., supra, the court

rejected an argument that claims directed to computer generation of facial expressions and lip

movements on three-dimensional animated characters were ineligible for patenting. The claimed

computerized animation process, the court explained, was entirely different from the process

employed by human animators, 837 F.3d at 1314. Considered as a whole, the court concluded,

the invention was “directed to a patentable, technological improvement over the existing, manual

3-D animation techniques” and achieved “an improved technological result.” Id. at 1316.

        The Federal Circuit’s decision in DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245

(Fed. Cir. 2014), provides another example of the distinction that the court has drawn between,

on the one hand, abstract ideas implemented on computers by the use of conventional computer

functionality, and on the other hand, solutions that are based on an improvement in the way

computers and networks perform. In that case, the claims were drawn to an invention that would

solve the problem of visitors to a website being transported to a different website upon activating

a hyperlink, such as an advertisement. The solution set forth in the claims was to create a hybrid

web page that would merge content associated with the third-party’s products with the elements

of the host’s website. That solution, the court explained, was “rooted in computer technology in

order to overcome a problem specifically arising in the realm of computer networks.” Id. at

1257.



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       Epic’s claims clearly do not fall within the scope of that line of cases. Epic’s claims are

not directed to an improvement in the operation of computers or computer networks. The

specification states on several occasions that merely conventional computer and network

components are used to implement the inventions. See ’599 patent, col. 3, ll. 41-48 (referring to

computer components “known in the art,” networking equipment available from identified

suppliers, and “the well known Internet”); id., col. 3, ll. 53-60 (referring to computer servers

available from identified suppliers and information pages that represent “a broad range of textual

and multi-media data embodied in any number of known organizational formats”); id., col. 3,

line 61, through col. 4, line 12 (referring to client computers as representing “a broad range of

computers known in the art . . . equipped with proper communication or networking equipment,

as well as operating systems and other software,” available from identified providers); id., col. 5,

ll. 31-44 (referring to an operating system, available from identified suppliers, that performs its

conventional functions of managing the information site and responding to visiting users with

requested information pages and the associated scripts/applets). The specification thus makes it

clear that the claims do not recite novel computer technology, but instead use conventional

technology in a conventional manner.

       3. In a series of cases, the Federal Circuit has found claims directed to specific user

interfaces in computer-related inventions to be patent-eligible. At the hearing on the motion to

dismiss, counsel for Epic argued that this line of cases provides direct support for Epic’s

argument that the asserted claims of the ’599 patent are not directed to an abstract idea. The

Court disagrees. The “user interface” cases on which Epic relies all involve improvements in

computer technology, not simply the use of a conventional computer for a new purpose.




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       In Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc., 880 F.3d 1356 (Fed. Cir. 2018),

for example, the claims at issue were related to “improved display interfaces, particularly for

electronic devices with small screens.” Id. at 1359. The court held that, as in the case of claims

directed to an improvement in computer functionality, the asserted claims were directed to “an

improved user interface for computing devices.” Id. at 1362. As opposed to prior art interfaces

that “required users to drill down through many layers to get to desired data or functionality,” the

court found that the invention “improve[d] the efficiency of using the electronic device by

bringing together ‘a limited list of common functions and commonly accessed stored data.’” Id.

at 1363.

       The Core Wireless court emphasized that the claims at issue in that case were directed to

“a particular manner of summarizing and presenting information in electronic devices.” Id. at

1362. The claimed manner of summarizing and presenting information included limitations on

the data listed in the application summary window, restraints on the type of data that can be

displayed in the summary window, and the particular state in which device applications must

exist. Id. at 1362–63. Based on that analysis, the court found the claims patent-eligible. The

court explained that “[l]ike the improved system[] claimed in Enfish . . . these claims recite a

specific improvement over prior systems, resulting in an improved user interface for electronic

devices.” Id. at 1363.

       Similarly, in Data Engine Techs. LLC v. Google LLC, 906 F.3d 999 (Fed. Cir. 2018),

most of the claims before the court were directed to a specific method of enabling a user to

navigate through three-dimensional electronic spreadsheets. The court held that those claims

were not directed to an abstract idea.      Compared to the prior art, which undermined the

effectiveness of the computer in presenting electronic spreadsheets, those claims in the Data



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Engine case were directed to an interface that took the form of notebook tabs, which allowed

users easy and intuitive access to the electronic spreadsheet material. As the Data Engine court

explained, the improvement “allowed computers, for the first time, to provide rapid access to and

processing of information in different spreadsheets.” Id. at 1008.

       The court in Data Engine noted that representative claim 12 of one of the patents in suit

was “directed to more than a generic or abstract idea[,] as it claim[ed] a particular manner of

navigating three-dimensional spreadsheets, implementing an improvement in electronic

spreadsheet functionality.” Id. at 1011. However, the court distinguished that claim from claim

1 of another one of the patents in suit, which recited an automated method of tracking

modifications across multiple versions of an electronic spreadsheet. The court found that claim

to be directed to an abstract idea.      That claim, the court found, recited a more generic

implementation of a user interface. See id. at 1012 (“[I]t generically recites ‘associating each of

the cell matrices with a user-settable page identifier’ and does not recite the specific

implementation of a notebook tab interface”) (citation omitted). Thus, the court found that claim

1 was “not limited to the specific technical solution and improvement in electronic spreadsheet

functionality that rendered representative claim 12 . . . patent eligible.” Id. Instead, the court

observed, claim 1 “covers any means for identifying electronic spreadsheet pages,” and as such

was drawn to an abstract idea. Id.

       The court in Data Engine also distinguished the Federal Circuit’s earlier decision in

Intellectual Ventures I LLC v. Erie Indemnity Co., 850 F.3d 1315 (Fed. Cir. 2017). The patent at

issue in that case was directed to “methods and apparatuses that use an index to locate desired

information in a computer database.” Id. at 1325. The court held that the invention was drawn

to the abstract idea of “creating an index and using that index to search for and retrieve data.” Id.



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at 1327 (internal quotations and citation omitted). The court explained that “organizing and

accessing records through the creation of an index-searchable database [] includes longstanding

conduct that existed well before the advent of computers and the Internet.” Id. Importantly, as

the Federal Circuit explained in Data Engine, the claims in Erie Indemnity Co. “did not recite

any specific structure or improvement of computer functionality sufficient to render the claims

not abstract.” Data Engine, 906 F.3d at 1010.

       The concept of a chat session independent of a pre-existing chatroom is not the solution

to a technological problem or an improvement in the functioning of computers, computer

software, or computer networks. It is more akin to the claim in Erie Indemnity Co., which was

directed to the use of an index to search for and retrieve data, a function that was held to be an

unpatentable abstract idea.     The Core Wireless line of cases thus does not support Epic’s

argument that its claims are directed not to abstract ideas, but to improvements in computer

functionality.

       In sum, contrary to Epic’s argument, this is not a case in which the invention consists of

an improvement to the functioning of a computer or network. Accordingly, the Court concludes

that in light of the principles that guide the analysis of the “abstract idea” step of the section 101

inquiry, the asserted claims in this case are directed to abstract ideas.

II. Inventive Concept

       Turning to the second step of the Alice/Mayo test for patent eligibility, Epic argues that,

even if the claims are directed to abstract ideas, the claims contain an “inventive concept” that

renders them patent-eligible. Dkt. No. 27, at 18–20.




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       A. Governing Principles

       The “inventive concept” step requires the court to determine whether the claims recite an

element or combination of elements that is sufficient to ensure that the patent claims

“significantly more” than the ineligible concept itself. Alice, 134 S. Ct. at 2355; Mayo, 566 U.S.

at 72–73. As the Supreme Court explained in Alice, the court at the second step of the inquiry

looks to see whether there are any “additional features” that constitute an inventive concept that

would render the claims eligible for patenting even if they were determined to be directed to an

abstract idea. Alice, 134 S. Ct. at 2357; see also Erie Indemnity Co., 850 F.3d at 1328. The

Alice Court explained that no such “inventive concept” would be found if the “additional

features” were “merely well-understood, routine, and conventional activities.” Alice, 134 S. Ct.

at 2359 (quoting Mayo, 566 U.S. at 73). Epic contends that the claims at issue in this case

contain such additional features.

       On this issue, the Federal Circuit’s decision in Electric Power Group is highly

instructive. The court in that case first determined that the claims before it were directed to an

abstract idea. Upon scrutinizing the claim elements “more microscopically,” the court then

found “nothing sufficient to remove the claims from the class of subject matter ineligible for

patenting.” 830 F.3d at 1354. The court pointed out that “merely selecting information, by

content or source, for collection, analysis, and display does nothing significant to differentiate a

process from ordinary mental processes, whose implicit exclusion from § 101 undergirds the

information-based category of abstract ideas.” Id. at 1355. In language that is equally applicable

here, the Electric Power Group court added that the claims there at issue “do not require an

arguably inventive set of components or methods, such as measurement devices or techniques.”

Id. The court added:



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               Inquiry therefore must turn to any requirements for how the desired result
       is achieved. But in this case the claims’ invocation of computers, networks, and
       displays does not transform the claimed subject matter into patent-eligible
       applications. The claims at issue do not require any nonconventional computer,
       network, or display components, or even a “non-conventional and non-generic
       arrangement of known, conventional pieces” . . . .
               Nothing in the claims, understood in light of the specification, requires
       anything other than off-the-shelf, conventional computer, network, and display
       technology for gathering, sending, and presenting the desired information.

Id. (quoting BASCOM Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1349–

52 (Fed. Cir. 2016)).

       B. Applying Those Principles to This Case

       The same analysis that the Federal Circuit applied in Electric Power Group applies here.

As in Electric Power Group, the asserted claims do not require any non-conventional computer,

network, or even a non-conventional and non-generic arrangement of known, conventional

pieces. Rather, the claims merely call for the initiation of a chat session that is separate from any

previously established chat room, by use of a set of generic computer components and display

devices. Thus, like the claims in Electric Power Group, the asserted claims in this case do not

recite an inventive concept.

       To support its contention that the claims satisfy the “inventive concept” requirement,

Epic points to the invention generally. Epic contends that the inventive concept is that the ’599

claims “are directed to chat sessions that are dynamically formed by the user through an

information page and are not affiliated with pre-established chat rooms.” Dkt. No. 27, at 19.

According to Epic, this is a significant improvement over prior art chat sessions because the prior

art chat rooms “were required to be pre-established and often required pre-registration and

chatting only at specified times.” Id.




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       Epic’s argument amounts to saying that the inventive concept resides in the invention

itself, as a whole. But the Federal Circuit has explicitly rejected that approach to the “inventive

concept” element of section 101 analysis. In BSG, the court explained that an inventive concept

must “ensure[] the patent amounts to ‘significantly more’ than a patent upon the [ineligible

concept] itself.” BSG, 899 F.3d at 1289–90 (quoting Alice, 134 S. Ct. at 2355). The court added

that “[i]t has been clear since Alice that a claimed invention’s use of the ineligible concept to

which it is directed cannot supply the inventive concept that renders the invention ‘significantly

more’ than that ineligible concept.” Id. at 1290; see also Erie Indemnity Co., 850 F.3d at 1328

(“In applying step two of the Alice analysis, we must ‘determine whether the claims do

significantly more than simply describe [the] abstract method’ and thus transform the abstract

idea into patentable subject matter.”) (quoting Ultramercial, 772 F.3d at 715).

       As for Epic’s argument that, prior to the invention, individuals could not join chat

sessions that were unaffiliated with an pre-existing chat room, that argument amounts to saying

that the invention, even if directed to an abstract idea, is nonetheless novel and therefore should

be patent-eligible. But novelty and patent eligibility are different things. Even if it is true, as

Epic asserts, that the systems that were previously used to form chat rooms were more restrictive

than Epic’s conception, that is not enough to satisfy the “inventive concept” requirement.

       The Supreme Court has made this point clear, holding that an abstract idea may be new,

but nonetheless unpatentable under section 101. See Mayo, 566 U.S. at 90 (“We recognize that,

in evaluating the significance of additional steps, the § 101 patent-eligibility inquiry and, say, the

§ 102 novelty inquiry might sometimes overlap. But that need not always be so.”); Diamond v.

Diehr, 450 U.S. 175, 188–89 (1981) (“The ‘novelty’ of any element or steps in a process, or even

of the process itself, is of no relevance in determining whether the subject matter of a claim falls



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within the § 101 categories of possible patentable subject matter.”); see also Data Engine, 906

F.3d at 1011 (“The eligibility question is not whether anyone has ever used tabs to organize

information. That question is one of novelty reserved for §§ 102 and 103. The question of

abstraction is whether the claim is ‘directed to’ the abstract idea itself.”); SAP Am., Inc. v.

InvestPic, LLC, 898 F.3d at 1163 (“We may assume that the techniques claimed are

‘[g]roundbreaking, innovative, or even brilliant,’ but that is not enough for eligibility.”) (citation

omitted); Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1151 (Fed. Cir. 2016) (“[A]

claim for a new abstract idea is still an abstract idea.”); Intellectual Ventures I LLC v. Symantec

Corp., 838 F.3d 1307, 1315 (Fed. Cir. 2016) (“While the claims may not have been anticipated

or obvious[,] . . . that does not suggest that the idea of ‘determining’ and ‘outputting’ is not

abstract, much less that its implementation is not routine and conventional.”) (citation omitted);

Genetic Techs. Ltd. v. Merial LLC, 818 F.3d 1369, 1376 (Fed. Cir. 2016) (“That is, under the

Mayo/Alice framework, a claim directed to a newly discovered law of nature (or natural

phenomenon or abstract idea) cannot rely on the novelty of that discovery for the inventive

concept necessary for patent eligibility; instead, the application must provide something

inventive, beyond mere ‘well-understood, routine, conventional activity.’”) (quoting Mayo, 556

U.S. at 73). As the Federal Circuit put it in SAP America, it is not enough “for subject-matter

eligibility that claimed techniques be novel and nonobvious in light of prior art, passing muster

under 35 U.S.C. §§ 102 and 103.” SAP America, 898 F.3d at 1163. 1




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           Epic argues (Dkt. No. 27, at 8) that during prosecution of the ’599 patent, the examiner
initially rejected the claims based on a prior art reference to Tang, which disclosed initiating a
chat session with another user associated with an information page. The examiner, however,
withdrew the rejection when the applicants amended the claims to clarify that the term “chat
session” in the application referred to chat sessions that were unaffiliated with any pre-
established chat rooms. While that course of events may indicate that the examiner ultimately
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        The problem with the ’599 patent, for purposes of the “inventive concept” requirement,

begins with the fact that the limitations are expressed through functional terms lacking in

specificity or through generic structures described at a very high level of generality. As the

Supreme Court said in Alice, “transformation into a patent-eligible application requires ‘more

than simply stat[ing] the [abstract idea] while adding the words “apply it.”’” 134 S. Ct. at 2357

(quoting Mayo, 566 U.S. at 72). Claims that “merely recite the method of implementing the

abstract idea itself . . . fail under Alice step two.” Data Engine, 906 F.3d at 1012.

       Nor does the application of such conventional elements to a specific field, such as

generating a chat session over the Internet, convert the conventional elements into an “inventive

concept.” It is well established that patent-ineligible subject matter does not become patent-

eligible merely by being applied in a particular technological environment. Alice, 134 S. Ct. at

2358 (The “prohibition against patenting abstract ideas cannot be circumvented by attempting to

limit the use of [the idea] to a particular technological environment.”); Bilski, 561 U.S. at 612

(“limiting an abstract idea to one field of use or adding token postsolution components [does] not

make the concept patentable”); buySAFE, Inc. v. Google, Inc., 765 F.3d at 1355 (“narrowing of

such long-familiar commercial transactions does not make the idea non-abstract for section 101

purposes”); Intellectual Ventures I LLC v. Symantec Corp., 838 F.3d at 1319 (“performing

otherwise abstract activity on the Internet does not save the idea from being patent-ineligible.”).

Thus, the functional limitation of “facilitating dynamic formation of a chat session unaffiliated

with any pre-established chat room” for two users to chat with each other does not constitute an

“inventive concept.”




agreed that the application was not anticipated by the prior art reference, it does not speak to the
question of patent eligibility which, as noted above, is a separate issue from anticipation.
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       Epic contends (Dkt. No. 27, at 18) that Backblaze has “limited its analysis to claim 1”

and therefore “does not challenge” that claims 2-4 and 19 are patentable under the second step of

the Alice/Mayo inquiry. That is incorrect. Backblaze argues that claim 1 is representative of the

other asserted claims for this purpose, see Dkt. No. 23, at 8, and thus it has preserved its

“inventive concept” argument as to all of the asserted claims. Setting aside Epic’s waiver

argument, we agree with Backblaze that dependent claims 2-4 and independent claim 19 fail to

recite any inventive concept, for the same reasons that apply to claim 1.

       As for the dependent claims, the courts have made clear that adding a degree of

particularity through additional limitations does not render dependent claims patent-eligible if

the additional limitations merely add further insignificant details and do not convert otherwise

patent-ineligible subject matter into a patent-eligible invention. See Affinity Labs, 838 F.3d at

1264 (dependent claims all recited functions that were not inventive but simply constituted

“particular choices from within the range of existing content or hardware”); Internet Patents, 790

F.3d at 1349 (additional limitations of the dependent claims held not to add an inventive concept,

for “they represent merely generic data collection steps or siting the ineligible concept in a

particular technological environment”); Content Extraction, 776 F.3d at 1349 (dependent claims

did not add any inventive concepts, but merely recited routine and conventional functions of

scanners and computers).

       While dependent claims can be patent-eligible even when their corresponding

independent claims are patent-ineligible, see, e.g., Berkheimer v. HP Inc., 881 F.3d 1360 (Fed.

Cir. 2018), that is not the case here. As noted above, dependent claims 2 and 3 of the ’599 patent

contribute nothing of substance that is not implicit in claim 1, and dependent claim 4 merely

adds a “dialog panel” by which the user can describe himself. None of those dependent claims



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can fairly be said to contain an inventive concept that contains “significantly more” than the

ineligible concept itself. Alice, 134 S. Ct. at 2355.

       Claim 19 likewise contains nothing of substance beyond what is contained in claim 1, as

noted above. The “information page” on which the option to form a chat session is presented to

the user and the generic “script/applet” that enables the user to initiate formation of the chat

session, are described in the specification as “conventional.” See ’599 patent, col. 5, ll. 38-41;

see also id., col. 6, ll. 16-18 (script/applet described as “implemented using any one of a number

of programming languages”). Given that the components set forth in the dependent claims as

well as in claims 1 and 19 are identified in the specification as conventional, and the operations

recited in the claims are the kinds of operations that are routinely performed by computers in a

network system, the Court concludes that none of the asserted claims recite any computer

function that is not “well-understood, routine, and conventional.” Thus, nothing in the five

asserted claims qualifies as an “inventive concept” that would rescue the claim from ineligibility

as an abstract idea.

III. The Appropriateness of Resolving This Case on a Motion to Dismiss

       Prior to the hearing on the motion to dismiss, the Court asked the parties to address what

factual issues might be presented by the issues raised in the motion that would preclude

addressing the patent-eligibility issue on a motion to dismiss. The Court raised that question in

light of the recent Federal Circuit decisions in Berkheimer v. HP Inc., supra, and Aatrix

Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121 (Fed. Cir. 2018), which held that

the question whether a claim is directed to subject matter that is “well-understood, routine, and

conventional” for purposes of the “inventive concept” inquiry can sometimes raise issues of fact

that would preclude dismissal under Rule 12(b)(6). The Court also asked the parties to address



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the question whether there were any potential claim construction issues that could make

disposition of the case on a Rule 12(b)(6) motion inappropriate.

       The parties addressed both of those issues at the hearing. Having heard the parties out on

those issues, the Court has concluded that there are no factual issues that would preclude entry of

judgment under Rule 12(b)(6) and no claim construction issues that would require the Court to

await claim construction before determining whether the plaintiff’s claims are patent-eligible.

       With regard to factual issues, the Berkheimer and Aatrix cases do not stand for the

proposition that a plaintiff can avoid dismissal simply by reciting in the complaint that the

invention at issue is novel. As discussed above, section 101 does not turn on novelty, and thus

the fact that Epic’s apparatus may have been unconventional in providing for chat sessions

unaffiliated with a pre-established chat room does not mean that the claims necessarily

incorporate an “inventive concept.”       Moreover, as Judge Moore explained in her opinion

concurring in the orders denying rehearing en banc in the Aatrix and Berkheimer cases, 890 F.3d

1354, 1359 (Fed. Cir. 2018), and 890 F.3d 1369, 1374 (Fed. Cir. 2018), it is “clear from Mayo

that the ‘inventive concept’ cannot be the abstract idea itself, and Berkheimer and Aatrix leave

untouched the numerous cases from this court which have held claims ineligible because the only

alleged ‘inventive concept’ is the abstract idea.”

       District courts have frequently decided section 101 issues on motions to dismiss, and the

Federal Circuit has approved of that procedure on numerous occasions, including in cases post-

dating the decisions in Aatrix and Berkheimer. See, e.g., SAP Am., Inc., 898 F.3d at 1166 (citing

cases); Berkheimer, 881 F.3d at 1368 (“Patent eligibility has in many cases been resolved on

motions to dismiss or summary judgment. Nothing in this decision should be viewed as casting

doubt on the propriety of those cases.”); Voter Verified, Inc. v. Election Sys. & Software LLC,



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887 F.3d 1376, 1385 (Fed. Cir. 2018); Cleveland Clinic Found. v. True Health Diagnostics LLC,

859 F.3d 1352, 1360 (Fed. Cir. 2017) (“[W]e have repeatedly affirmed § 101 rejections at the

motion to dismiss stage, before claim construction or significant discovery has commenced.”)

(citing cases).

        In this case, as stated above, Epic’s general position with respect to the “inventive

concept” step of the Alice/Mayo inquiry is that the combination of elements recited in each of the

asserted claims amounts to an inventive concept. That is, the assertedly “inventive concept” is

the abstract idea itself. As noted, however, the “inventive concept” element of the section 101

analysis requires “significantly more” than the abstract idea itself. At the hearing, Epic asserted

that the fact issues with respect to claims 1-4 of the ’599 patent are whether the limitations of

each of those claims would be well-understood, routine, or conventional to a skilled artisan. But

that is merely asking whether the claim as a whole is the inventive concept. With respect to

claim 19, Epic asserted that the fact issue is whether the components of the second limitation of

that claim would be well-understood, routine, or conventional to a skilled artisan. That, again, is

just another way of asking whether the claimed invention as a whole would be well-understood,

routine, or conventional. Asking about the second limitation amounts to asking about the whole

invention because the first limitation of claim 19 (the only other limitation of the claim) recites a

server providing information pages to a client computer in response to the client computer’s

request. That limitation describes the most fundamental service provided by a website and

merely sets the background for the second limitation in claim 19.            Because Epic has not

suggested that there is a factual issue as to whether the asserted claims are directed to something

significantly more than the abstract idea itself, Epic has failed to point to a discrete factual issue

on which the presence of an “inventive concept” in claim 19 would turn.



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       As to claim construction, the Federal Circuit has addressed the question whether a motion

to dismiss under section 101 can be decided before claim construction. The court has held that a

district court may do so if the nature of the claims is clear and it is apparent that claim

construction would not affect the patent-eligibility of the claims at issue. See Genetic Techs.

Ltd., 818 F.3d at 1374; buySAFE, Inc., 765 F.3d at 1355; Bancorp Servs. L.L.C. v. Sun Life

Assurance Co. of Canada (U.S.), 687 F.3d 1266, 1273 (Fed. Cir. 2012); see generally Aatrix

Software, Inc., 882 F.3d at 1128 (leaving undecided whether claim construction was required

before the district court granted the motion to dismiss); CyberFone, 558 F. App’x 988, 992 n.1

(Fed. Cir. 2014) (“There is no requirement that the district court engage in claim construction

before deciding § 101 eligibility.”).

       Epic has not pointed to any claim construction issue that would alter the Court’s

judgment as to the disposition of the section 101 motion. The claims are straightforward and not

technical in nature, and plaintiff’s counsel has not pointed to any terms from the asserted claims

that would likely give rise to a material dispute over claim construction. At the hearing, counsel

contended that the phrase “facilitating dynamic formation of a chat session” in claim 1 should be

construed to mean “providing a script/applet that is included with an information page to initiate

the dynamic formation of the unaffiliated chat session through a chat session manager.” The

Court finds Epic’s proposed construction to be questionable, as it imports subject matter from an

embodiment in the specification and disregards the breadth of the term “facilitating” in claim 1.

Nonetheless, even if claim 1 were construed as Epic suggests, the result of the section 101

analysis would be the same, since the effect of that claim construction would simply be to make

the method of claim 1 congruent with the apparatus of claim 19, which the Court has also found

to be patent-ineligible.



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       Accordingly, the Court believes it is both feasible and appropriate to decide the section

101 issue now and spare the parties the burdens that would be incurred in delaying disposition of

the section 101 issue until after claim construction and summary judgment proceedings, or

beyond. Based on the foregoing analysis, the Court holds that claims 1-4 and 19 of the ’599

patent are not patent-eligible and therefore grants the defendant’s motion to dismiss.

       IT IS SO ORDERED.

       SIGNED this 21st day of November, 2018.




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                                             WILLIAM C. BRYSON
                                             UNITED STATES CIRCUIT JUDGE




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